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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, : 22crl105 (DLC)
-Vv- : ORDER

JAMES VELISSARIS,
Defendant.

DENISE COTE, District Judge:

Two funds that were victimized by the defendant’s criminal
conduct -- the Diversified Alpha Fund (“DAF%) and the Volatility
Alpha Fund (“VAF”’) (together, the “Funds”) -- submitted requests
for restitution. The DAF sought $46,482,819.00 in overpayments
to certain shareholders, $7,485,202.00 in excess management
fees, $850,000.00 in payments to a third party who provided
liguidation services, $1,573,882.00 in payments to a third party
who provided reevaluation services, $2,288,416.00 in payments to
a third party who assisted in distributing DAF’s assets, and
$450,000.00 for a license to Bloomberg valuation software. The
VAF sought $18,880,319.12 in overpayments to certain investors,
$26,573,945.89 in excess fees paid to Infinity Q Capital
Management, LLC, and $844,067.05 in fees paid to a third-party
service provider. The DAF and VAF also sought restitution for

certain legal expenses that each of the Funds had paid.
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On duly 24, 2023, an Opinion was issued largely granting
the Funds’ requests for restitution but deferring final decision
on the appropriate amount of attorneys’ fees pending further

briefing. United States v. Velissaris, No. 22cr105 (DLC), 2023

WL 4702049 (S.D.N.Y. July 24, 2023). The attorneys’ fees issue
was fully submitted on August 2.

The Funds requests for attorneys’ fees, as presented in the
Government's August 2 submission, are granted, The fees sought
are properly included within the restitution amount. The hours
were reasonably expended and the hourly rates are appropriate.

The defendant challenges certain of the fees sought by the
Funds as unrelated to the criminal proceedings against him and
thus inappropriate to include in a restitution award. As
explained in the Court’s July 24 Opinion, attorneys’ fees that a
victim was “required to incur to advance the [criminal ]
investigation or prosecution” may be included in the restitution

amount. United States v. Afriyie, 27 F.4th 161, 173 (2d Cir.

2022). The VAF has withdrawn its request for certain fees
relating to the SEC’s parallel action against the defendant.
The remaining fees relate to the criminal proceeding and,
accordingly, may be included in the restitution amount.

The defendant also argues that certain fees are, for
various reasons, excessive. Having reviewed the relevant

materials, the requested fees are not excessive. The hours
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expended were reasonable, and the hourly rates charged are in
line with similar rates in this District for similarly qualified
attorneys. The defendant’s remaining arguments are without
merit.

Thus, for the reasons articulated above and in the Court's
July 24 Opinion, the DAF is entitled to $21,926.00 in attorneys’
fees and the VAF is entitled to $20,519,205.72. Adding this to
the other restitution amounts already granted, the VAF is
entitled to a total of $66,817,537.78 in restitution and the DAF
to a total of $59,152,425.00. Accordingly, it is hereby

ORDERED that the defendant shall pay $66,817,537.78 in
restitution to the VAF and $59,152,425.00 in restitution to the

DAF,

Dated: New York, New York
August 3, 2023

Yc Ll

tftes. COTE

United States District Judge
